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IN THE UNrrED sTATEs DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 gun 27 11 a 01_

 

 

wEsTERN DIVISION
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cARREKER coRPoRATloN, WD' `J'" m ‘…
Piaimiff,
v. No. 2;05¢v2209-D/v
RoNALI) scHULTz, ET AL.,
Defendants.
scI-IEDULING 0RDER

 

Pursuant to written notice, a scheduling conference was held June 30, 2005. Present were
Jef Feibelman, counsel for plaintiff, and W. Michael Richards, counsel for defendants At the

conference, the following dates were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P.( 1)(1): July 14, 2005
JOINING PART[ES: August 30, 2005
AMENDlNG PlEADINGS: August 30, 2005
INITIAL MOTIONS TO DISMISS: September 30, 2005
COMPLETING ALL DISCOVERY: February 28, 2005
(a) DOCUMENT PRODUCTION: February 28, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: February 28, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: Decernber 27, 2006

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: January 27, 2006

T1"11's document entered on the docket sh et in compliance
with nme 55 and/01 79{3) FHCP on _1£§5_'9$_

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(3) EXPERT WITNESS DEPOSITIONS: February 28, 2006
FILING DISPOSITIVE MOTIONS: March 28, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date, All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury and the trial is expected to last 3 days. The pretrial order date,
pretrial conference date, and trial date will be set by the presiding judge.

The parties are reminded that pursuant to Local Ruie ll(a)( 1)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause show, the scheduling dates set by this order will not be modified or extendedl

IT IS SO ORDERED.

g(l,w,,;r, a @MM

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Dated: Y/f/V)L¢.. @?5: 3005-

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02209 was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

